Case 3:16-cv-01578-PGS-LHG Document 118-3 Filed 11/15/19 Page 1 of 3 PageID: 3525



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


  LUTHER GRAHAM,
                         Plaintiff,                Civil Action
                                           DOCKET NO. 16-1578(PGS)(LHG)
                  v.
                                          DEFENDANTS MONMOUTH COUNTY
  MONMOUTH COUNTY BUILDINGS AND        BUILDINGS AND GROUNDS AND ROBERT
  GROUNDS, DAVID KRYZANOWSKI,         W. COMPTON’S STATEMENT OF MATERIAL
  ROBERT W. COMPTON, and CRAIG                       FACTS
  BELL,

                         Defendants

        1. Luther Graham (“Mr. Graham” or “Plaintiff”) is the
           Plaintiff in this matter. Defendant Robert W. Compton
           (“Mr. Compton”) is the Superintendent of Defendant
           Monmouth   County   (“County”)  Buildings   and   Grounds
           Department.   Defendant   David   Krzyzanowski   is   the
           Supervisor of General Services for the County Buildings
           and Grounds Department. On June 5, 2018, Defendant Craig
           Bell was dismissed from this action per the Court’s
           decision on reconsideration. See ECF No. 69. All
           remaining Defendants are above Plaintiff in the chain of
           command. Because summary judgment has already been
           granted as to the vast majority of Plaintiff’s Complaint,
           only the facts pertinent to the Crew Supervisor Building
           Maintenance Worker position (“Crew Supervisor Position”)
           (the only remaining position) will be set forth herein.
           ECF No. 56.

        2. In 1994, Mr. Graham began working for the County in the
           Division of Employment and Training. Roberts Decl.,
           Exhibit A, 9:7-10. On March 7, 2005, Mr. Graham became an
           Electrician with the County and was transferred to the
           Buildings and Grounds Department. Roberts Decl., Exhibit
           A, 10:19-20 and promotional documents.

        3. On February 2, 2015; March 12, 2015; April 30, 2015; June
           18, 2015; and October 1, 2015, Mr. Graham filed
           complaints with the County Human Resources Department
           charging a variety of unjust treatment. The County
           responded to each of these complaints in writing. Roberts
           Decl., Exhibit B.


                                       1
Case 3:16-cv-01578-PGS-LHG Document 118-3 Filed 11/15/19 Page 2 of 3 PageID: 3526




        4. Mr. Graham admitted that the County was responsive to his
           complaints. Roberts Decl., Exhibit C, ¶¶5, 6, 9, 10, 11,
           12.

        5. On March 8, 2016, the County posted an anticipated
           vacancy for the Crew Supervisor Position. The Crew
           Supervisor Position is within the Building Services civil
           service promotional title. Roberts Decl., Exhibit D.

        6. Mr. Graham never held a building services title. Roberts
           Decl., Exhibit A, 108:15-17; 115-116.

        7. Mr. Compton interviewed twelve applicants for the Crew
           Supervisor Position, including Mr. Graham. The interview
           consisted of 21 questions with percentages of importance.
           Interview questions were related to required experience,
           analytical,   teamwork,   leadership,   customer   service,
           business   success,   and   administrative/clerical.   Each
           applicant’s response to the questions was scored on a
           scale of 0-3. The score was noted on each applicant’s
           interview score sheet during the interview at the
           completion of each question. Roberts Decl., Exhibit E,
           Compton Decl., Exhibit F; Roberts Decl., Exhibit F,
           250:10-266:18.

        8. Based on the scores from the 12 interviews, Robert
           Briscoe (“Mr. Briscoe”) scored a 2.47, and was far and
           away the best candidate, beating the second candidate
           Kevin Baxter who scored 1.9. Importantly, Mr. Briscoe had
           experience in the Building Services promotional title. He
           further had supervisory and management experience from
           his prior career. Also, Mr. Briscoe consistently was able
           to provide real world examples of how he responded to
           certain situations he was asked about in the interview.
           Roberts Decl., Exhibit E, Compton Decl., Exhibit G, P.43
           of 171 to P.162 of 171 (all applicants’ score sheets);
           P.53 of 171 through P.61 of 171 (Mr. Briscoe’s score
           sheet); Roberts Decl., Exhibit F, 288:22-298:20.

        9. Mr. Graham received a score of 1.0 and ranked 10/12. Mr.
           Graham did not have the required two (2) years of
           experience. When explaining his experience to Mr.
           Compton, Mr. Graham stated his experience consisted of:
           (1) cleaning his area in college; (2) helping his mother
           clean; (3) knowing how to dust; and (4) prior to college,
           supervising a volunteer group that vacuumed buildings.
           Indeed, Mr. Graham’s responses did not qualify for two
                                       2
Case 3:16-cv-01578-PGS-LHG Document 118-3 Filed 11/15/19 Page 3 of 3 PageID: 3527



           (2) years of experience in facilities management.
           Contrary to Mr. Briscoe, Mr. Graham consistently was
           unable to provide real world examples of how he responded
           to certain situations he was asked about in the
           interview. Roberts Decl., Exhibit E, Compton Decl.,
           Exhibit G, P.127 of 171 through P.135 of 171 (Mr.
           Graham’s   score  sheet);  Roberts   Decl.,  Exhibit   F,
           P:276:12-288:12; 314:8-23.

                                           KENNEY, GROSS, KOVATS & PARTON



                                     By:   DANIEL R. ROBERTS



                                           CLEARY     GIACOBBE        ALFIERI
                                           JACOBS, LLC

                                     By:   /s/   Micci J. Weiss
                                                 MICCI J. WEISS

  Dated: November 15, 2019




                                       3
